              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                        BID PROTEST


                                                      )
AMAZON WEB SERVICES, INC.                             )
                                                      )
               Plaintiff,                             )      No. 19-1796
                                                      )
       v.                                             )      Judge Patricia Campbell-Smith
                                                      )
THE UNITED STATES,                                    )
                                                      )
               Defendant                              )



       Pursuant to Rule 24(a)(2) of the Rules of this Court, Microsoft Corp. (“Microsoft”)
respectfully requests leave for intervention of right in the above-captioned bid protest filed by
Amazon Web Services, Inc. (“AWS”) on November 22, 2019. Microsoft is the awardee
under the award that AWS is protesting. The disposition of this matter will directly affect
Microsoft’s interests in the awarded contract, which carries the potential for significant
economic and other harms to Microsoft.
       The undersigned attorney will serve as counsel of record. Counsel of record as well as
Jeffery M. Chiow, Neil H. O’Donnell are members in good standing of this Court’s bar, and
we intend to request that they and others be admitted to the Protective Order once issued by
this Court.


Dated: November 22, 2019                    Respectfully Submitted,



                                            By: //s// Robert S. Metzger
                                            Robert S. Metzger (Counsel of Record)
                                            Neil H. O’Donnell
                                            Jeffery M. Chiow
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